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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF INDIANA
INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,
Plaintiff,
vs. CasE NUMBER: 1:98-CR-00038-J MS-MJD
WILLIE BODDIE,
Defendant.

DEFENDANT WILLIE BODDIE’S APPENDIX OF EXHIBITS

 

Defendant, Willie Boddie, by counsel, submits the following list of exhibits in support of
its Motion for Summary Judgment:

1. Sentencing Transcript / Pronouncement of Sentence

2. Progress Report dated April 4, 2016

3. Summary Re-Entry Plan - Progress Report dated June 3, 2020

4. Medical Records (not yet received)

5. Medical Records (son) Ryan Merriweather

6. Letter Offering Employment

7. Writer’s Boot Camp Letter

Respectfully submitted,

/s/ Jeffrey A. Baldwin
Jeffrey A. Baldwin

Attorney for the Defendant
Attorney No.: 11892-49
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CERTIFICATE OF SERVICE

 

I hereby certify that on December 7, 2020, a copy of the foregoing was filed electronically.
Service of this filing will be made on all ECF - registered counsel by operation of the court’s

electronic filing system. Parties may access this filing through the court’s system.

/s/ Jeffrey A. Baldwin
Jeffrey A. Baldwin

JEFFREY A. BALDWIN

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